 Fill in this information to identify the case:

 Debtor name            Hudson Mfg. LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               19-60161
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $               5,450.98

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        4,248,439.87

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,253,890.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      10,061,094.03


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          146,143.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,443,472.52


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        11,650,709.55




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name          Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         19-60161
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank                                             checking                         9392                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     ATF yearly membership                                                                                                               $249.99




            8.2.     ASA yearly membership                                                                                                               $208.37


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
 Debtor         Hudson Mfg. LLC                                                                       Case number (If known) 19-60161
                Name



 9.         Total of Part 2.                                                                                                                      $458.36
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                                   64,563.02   -                           64,563.02 =....                              $0.00
                                              face amount                               doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                                         $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.        Raw materials
            parts and packaging                       10/24/2018                            $939,736.56                                          $939,736.56



 20.        Work in progress

 21.        Finished goods, including goods held for resale
            E-commerce                                10/24/2018                            $181,739.09                                          $181,739.09



 22.        Other inventory or supplies

 23.        Total of Part 5.                                                                                                               $1,121,475.65
            Add lines 19 through 22. Copy the total to line 84.

 24.        Is any of the property listed in Part 5 perishable?
             No
             Yes
 25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                          1,038.41 Valuation method              book                  Current Value                0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Debtor         Hudson Mfg. LLC                                                               Case number (If known) 19-60161
                Name

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, chairs, etc.                                                        $53,269.22                                          $53,269.22



 40.       Office fixtures
           Range, leasehold improvements                                             $106,583.55                                         $106,583.55



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           computers, TVs, quality equipment                                         $186,560.00                                         $186,560.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $346,412.77
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Debtor         Hudson Mfg. LLC                                                               Case number (If known) 19-60161
                Name



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            3 haas machines                                                          $385,040.92                                          $385,040.92



 51.        Total of Part 8.                                                                                                          $385,040.92
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     Connex storage
                     building                             own                           $5,450.98                                            $5,450.98




 56.        Total of Part 9.                                                                                                              $5,450.98
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
 Debtor         Hudson Mfg. LLC                                                               Case number (If known) 19-60161
                Name


     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            capitol tooling                                                          $850,853.69     book                                $850,853.69



 61.        Internet domain names and websites
            web development www.hudsonmfg.com                                         $50,891.93     book                                 $50,891.93



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            R&D; TDP (technical data package)                                      $1,488,113.23     book                              $1,488,113.23



 65.        Goodwill

 66.        Total of Part 10.                                                                                                       $2,389,858.85
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Debtor         Hudson Mfg. LLC                                                              Case number (If known) 19-60161
                Name



           Acusport                                                                                                                 Unknown
           Nature of claim                     open A/R
           Amount requested                                   unknown



           Cambridge Valley Machine                                                                                                 Unknown
           Nature of claim       failure to perform/contract/lost
                                 revenue
           Amount requested                      unknown



           Wilson Construction                                                                                                      Unknown
           Nature of claim                     contract/failure to perform
           Amount requested                                  unknown



           3D Industries                                                                                                            Unknown
           Nature of claim                     failure to perform contract
           Amount requested                                   unknown



           CCDM Investments                                                                                                         Unknown
           Nature of claim                     bridge loan that did not close
           Amount requested                                 unknown



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           Cambridge Valley Machine                                                                                                       $0.00
           Nature of claim       failure to perform contract/lost
                                 revenue
           Amount requested                   unknown



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           marketing and R&D firearms                                                                                               $4,933.32



           FedEx Rewards points (502,459)                                                                                             $260.00




 78.       Total of Part 11.                                                                                                     $5,193.32
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
 Debtor          Hudson Mfg. LLC                                                                                     Case number (If known) 19-60161
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                      $458.36

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,121,475.65

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $346,412.77

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $385,040.92

 88. Real property. Copy line 56, Part 9.........................................................................................>                           $5,450.98

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $2,389,858.85

 90. All other assets. Copy line 78, Part 11.                                                    +                    $5,193.32

 91. Total. Add lines 80 through 90 for each column                                                         $4,248,439.87            + 91b.                 $5,450.98


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,253,890.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name          Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)              19-60161
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Bill Hudson Jr.                               Describe debtor's property that is subject to a lien              $9,736,240.92                 Unknown
        Creditor's Name                               all property owned by the debtor
        4625 Corydon Ridge Rd,
        NE
        Corydon, IN 47112
        Creditor's mailing address                    Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        05/10/2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Intech Funding                                Describe debtor's property that is subject to a lien                $116,794.72               $128,346.97
        Creditor's Name                               Haas machine
        201 E Huntington Dr #201
        Monrovia, CA 91016
        Creditor's mailing address                    Describe the lien
                                                      Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        07/30/2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                          Case number (if know)       19-60161
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    Intech Funding                                Describe debtor's property that is subject to a lien                     $101,816.50         $128,346.97
        Creditor's Name                               Haas machine
        201 E Huntington Dr #201
        Monrovia, CA 91016
        Creditor's mailing address                    Describe the lien
                                                      Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        07/30/2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.4    Intech Funding                                Describe debtor's property that is subject to a lien                     $106,241.89         $128,346.97
        Creditor's Name                               Haas machine
        201 E Huntington Dr #201
        Monrovia, CA 91016
        Creditor's mailing address                    Describe the lien
                                                      Note
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        07/30/2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $10,061,094.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        03

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)          19-60161
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $146,143.00          $146,143.00
           TBB                                                       Check all that apply.
           PO Box 979055                                              Contingent
           Saint Louis, MO 63197                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           06/30/2018; 09/30/2018; 12/31/2018                        firearms and ammunition excise taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Adobe                                                                    Contingent
           345 Park Avenue                                                          Unliquidated
           San Jose, CA 95110
                                                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     services provided
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Advanced Heat Treat                                                      Contingent
           2825 Midport Blvd.                                                       Unliquidated
           Waterloo, IA 50703
                                                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     services provided
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   39512                                           Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,700.00
          Aerovac Alloy and Forge, Inc.                                       Contingent
          2615 Hendrickson Drive                                              Unliquidated
          Kalama, WA 98625
                                                                              Disputed
          Date(s) debt was incurred 05/25/2018; 06/15/2018;
          07/05/2018                                                         Basis for the claim:    supplier
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $522.00
          Age Industries-Belton                                               Contingent
          801 Industrial Park Rd.                                             Unliquidated
          Belton, TX 76513
                                                                              Disputed
          Date(s) debt was incurred 10/05/2018
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alton Manufacturing Inc.                                            Contingent
          825 Lee Rd                                                          Unliquidated
          Rochester, NY 14606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,190.59
          Aramark                                                             Contingent
          2680 Palumbo Drive                                                  Unliquidated
          Lexington, KY 40509
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,464.66
          ARC Colorado                                                        Contingent
          7040 Weld County Road 20                                            Unliquidated
          Longmont, CO 80504
                                                                              Disputed
          Date(s) debt was incurred 06/02/2018; 07/11/2018
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,403.38
          AT&T                                                                Contingent
          PO Box 13326                                                        Unliquidated
          Austin, TX 78711
                                                                              Disputed
          Date(s) debt was incurred      09/19/2018-01/2019
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,278.00
          Austin Tool and Grinding                                            Contingent
          20207 Mashburn Rd                                                   Unliquidated
          Pflugerville, TX 78660
                                                                              Disputed
          Date(s) debt was incurred 7/2018-09/2018
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Authnet-Bankcard                                                    Contingent
          2625 Townsgate #100                                                 Unliquidated
          Westlake Village, CA 91361
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Barbara Stockford                                                   Contingent
          8575 Rives Jumction Rd                                              Unliquidated
          Rives Junction, MI 49277
                                                                              Disputed
          Date(s) debt was incurred 09/2019
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,775.00
          Barbara Stockford                                                   Contingent
          8575 Rives Junction Rd                                              Unliquidated
          Rives Junction, MI 49277
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $760.31
          Bernadine Hipsley                                                   Contingent
          4011 Lazy Brook Drive                                               Unliquidated
          Nolanville, TX 76559
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Best of the West Shooting Sports                                    Contingent
          19500 West State Hwy 29                                             Unliquidated
          Liberty Hill, TX 78642
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,657.78
          Big Texas Sky                                                       Contingent
          5128 Hidden Springs Trl                                             Unliquidated
          Georgetown, TX 78633
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,861.00
          Bill Hudson Jr.                                                     Contingent
          4625 Roydon Ridge Rd NE                                             Unliquidated
          Corydon, IN 47112
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blackhills Ammunition                                               Contingent
          PO Box 3090                                                         Unliquidated
          Rapid City, SD 57709
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bowen Electric                                                      Contingent
          324 Cotton Drive                                                    Unliquidated
          Woodway, TX 76712                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Briggs Equipment                                                    Contingent
          10540 N STemmons Freeway                                            Unliquidated
          Dallas, TX 75220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brownells                                                           Contingent
          3006 Brownells Parkway                                              Unliquidated
          Grinnell, IA 50112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Business Automation Services                                        Contingent
          300 Coon Rapids Blvd NW                                             Unliquidated
          Minneapolis, MN 55433                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cambridge Valley Machining                                          Contingent
          28 Perry Lane                                                       Unliquidated
          Cambridge, NY 12816                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          Carla Weaver                                                        Contingent
          5128 Hidden Springs Trl                                             Unliquidated
          Georgetown, TX 78633
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,095.74
          Carla Weaver                                                        Contingent
          5128 Hidden Springs Trl                                             Unliquidated
          Georgetown, TX 78633
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    line of credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Central Texas Fire Protection                                       Contingent
          4201 Oro Ct                                                         Unliquidated
          Georgetown, TX 78628
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chase Bank                                                          Contingent
          270 Park Avenue                                                     Unliquidated
          New York, NY 10017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    banking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chattanooga Shooting Supplies                                       Contingent
          2600 Walker Rd                                                      Unliquidated
          Chattanooga, TN 37421                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cinncinati Insurance                                                Contingent
          PO Box 145496                                                       Unliquidated
          Cincinnati, OH 45250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,494.78
          City of Temple                                                      Contingent
          2 N Main Street #201                                                Unliquidated
          Temple, TX 76501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Component Technologies                                              Contingent
          68 Holmes Rd                                                        Unliquidated
          Newington, CT 06111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,036.96
          Conneticut Spring and Stamping                                      Contingent
          48 Spring Lane                                                      Unliquidated
          Farmington, CT 06032
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,000.00
          Cy Hudson                                                           Contingent
          PO Box 940                                                          Unliquidated
          Georgetown, TX 78627
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $436.06
          Damien Horner                                                       Contingent
          463 Westfiled Blvd. Apt. 126                                        Unliquidated
          Temple, TX 76502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $313.07
          Daric Wade                                                          Contingent
          415 E 4th Ave. Apt. C                                               Unliquidated
          Belton, TX 76513
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $536.69
          David Czinder                                                       Contingent
          5502 Holly Oak Ln                                                   Unliquidated
          Killeen, TX 76542
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $848.01
          Dixie Tool                                                          Contingent
          613 Industrial Blvd.                                                Unliquidated
          Austin, TX 78745
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,406.19
          Doubletap Ammunition                                                Contingent
          450 North 200 West                                                  Unliquidated
          Cedar City, UT 84720
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dropbox                                                             Contingent
          185 Berry Street, Ste 400                                           Unliquidated
          San Francisco, CA 94107                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Easy Clocking                                                       Contingent
          3141 Commerce Parkway                                               Unliquidated
          Hollywood, FL 33025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,710.96
          Edwin Bailey                                                        Contingent
          317 N 9th Street                                                    Unliquidated
          Temple, TX 76501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,198.63
          Elijah Henry                                                        Contingent
          764 Marlandwood Rd., Apt. 133                                       Unliquidated
          Temple, TX 76502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Expensify                                                           Contingent
          548 Market Street, Suite 61434                                      Unliquidated
          San Francisco, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $465.03
          Fastenal                                                            Contingent
          2711 Airport Rd., Suite B                                           Unliquidated
          Temple, TX 76504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,833.89
          Fedex                                                               Contingent
          PO Box 94515                                                        Unliquidated
          Palatine, IL 60094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,443.02
          Fedex Freight                                                       Contingent
          2200 Forward Drive                                                  Unliquidated
          Harrison, AR 72602
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          G&H Diversified Mfg                                                 Contingent
          11660 Brittmore Park Dr.                                            Unliquidated
          Houston, TX 77041
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,699.82
          Georgia Telecom and Security                                        Contingent
          3362 Bold Springs Rd NW                                             Unliquidated
          Monroe, GA 30656
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Google                                                              Contingent
          1600 Admphitheatre Parkway                                          Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $317.20
          Grainger                                                            Contingent
          6901 Imperial Dr                                                    Unliquidated
          Woodway, TX 76712
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $252.60
          Grounds Guys                                                        Contingent
          PO Box 91                                                           Unliquidated
          Temple, TX 76503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          GS1                                                                 Contingent
          7887 Washington Village Dr., Sutie 300                              Unliquidated
          Dayton, OH 45459
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gurus                                                               Contingent
          9880 Clark Street, Suite 101                                        Unliquidated
          Montreal, QC                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gusto                                                               Contingent
          1201 16th Street                                                    Unliquidated
          Denver, CO 80202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,234.50
          H&M Metal Processing                                                Contingent
          1414 Kenmore Blvd.                                                  Unliquidated
          Akron, OH 44314
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,352.50
          H&M Metal Processing West                                           Contingent
          6051 N 56th Avenue                                                  Unliquidated
          Glendale, AZ 85301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $827.50
          Haas Machine Tool Sales of Texas                                    Contingent
          1633 Fireman Drive, Suite 200                                       Unliquidated
          Richardson, TX 75081
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,126.20
          Hogue                                                               Contingent
          PO Box 91360                                                        Unliquidated
          Henderson, NV 89009
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,943.00
          Hudson Standard                                                     Contingent
          4625 Cryodon Ridge Rd NE                                            Unliquidated
          Corydon, IN 47112
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,125.00
          Industry Day at the Range                                           Contingent
          130 Gardeners Circle, Suite L                                       Unliquidated
          Johns Island, SC 29455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Intersec LLC                                                        Contingent
          530 Silas Deane Hwy #200                                            Unliquidated
          Wethersfield, CT 06109                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          J2 eFax Services                                                    Contingent
          6922 Hollywood Blvd., 5th Floor                                     Unliquidated
          Los Angeles, CA 90028                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $608.31
          Jacob Ives                                                          Contingent
          4503 Brutus Lane, Apt. B                                            Unliquidated
          Temple, TX 76502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $372.33
          Janet Grissett                                                      Contingent
          1810 Marlandwood Rd., Apt. 8204                                     Unliquidated
          Temple, TX 76502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,861.00
          Jencer Investments                                                  Contingent
          3820 Fall Creek Ln                                                  Unliquidated
          Temple, TX 76504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,464.02
          Jose Hernandez                                                      Contingent
          612 N 7th Street                                                    Unliquidated
          Temple, TX 76501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $134.17
          Joseph Adcock                                                       Contingent
          13152 Brewster Creek Rd.                                            Unliquidated
          Moody, TX 76557
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $614.96
          Joseph Ives                                                         Contingent
          312 W Ave R                                                         Unliquidated
          Temple, TX 76504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,199.97
          Kabbage Line of Credit                                              Contingent
          925 B Peachtreet Street NE, Suite 1688                              Unliquidated
          Atlanta, GA 30309
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    line of credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $226,038.17
          KE Arms                                                             Contingent
          4343 E Magnolia Street                                              Unliquidated
          Phoenix, AZ 85034
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $930.25
          Kirk Johnson                                                        Contingent
          201 S Front Street, Unit A                                          Unliquidated
          Holland, TX 76534
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lang Technovations Co.                                              Contingent
          1020 James Dr, Suite 1                                              Unliquidated
          Hartland, WI 53029                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,013.43
          Lauren Hudson                                                       Contingent
          PO Box 940                                                          Unliquidated
          Georgetown, TX 78627
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $235.00
          MAD Custom Coating                                                  Contingent
          5800 Werner Road Suite A                                            Unliquidated
          Bremerton, WA 98312
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,822.14
          Mark Province                                                       Contingent
          9206 Bowfield Drive                                                 Unliquidated
          Killeen, TX 76542
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,634.88
          Marlin Business Bank                                                Contingent
          2795 E Cottonwood Pkwy, Suite 120                                   Unliquidated
          Salt Lake City, UT 84121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,247.21
          McMaster-Carr                                                       Contingent
          PO Box 7690                                                         Unliquidated
          Chicago, IL 60680
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $380.28
          McNamara                                                            Contingent
          230 McNamara Lane                                                   Unliquidated
          Waco, TX 76708
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,639.05
          Megan Flores                                                        Contingent
          1919 Country Rd 313, Apt. 603                                       Unliquidated
          Jarrell, TX 76537
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Meltwater                                                           Contingent
          225 Bush Street, Suite 1000                                         Unliquidated
          San Francisco, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MGE Wholesale                                                       Contingent
          5021 Nimitz Parkway                                                 Unliquidated
          South Bend, IN 46628                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Microsoft Corporation                                               Contingent
          One Microsoft Way                                                   Unliquidated
          Redmond, WA 98052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,822.48
          MSC Industrial Supply                                               Contingent
          75 Maxess Rd                                                        Unliquidated
          Melville, NY 11747
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          National Shot Peening                                               Contingent
          1020 E Columbus Street, #B                                          Unliquidated
          Weatherford, TX 76086
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    service provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Net Solutions Security, LLC                                         Contingent
          2008 W Koenig Lane                                                  Unliquidated
          Austin, TX 78756                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,316.79
          Netsuite                                                            Contingent
          2955 Campus Drive, Suite 100                                        Unliquidated
          San Mateo, CA 94403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NG2 Defense                                                         Contingent
          218 W 12650 S                                                       Unliquidated
          Draper, UT 84020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,135.73
          Nicholas Roberts                                                    Contingent
          2205 Pirtle Drive                                                   Unliquidated
          Salado, TX 76571
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.92
          Patrick Herrera                                                     Contingent
          802 Silver Creek Drive                                              Unliquidated
          Harker Heights, TX 76548
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Phillips Medisize                                                   Contingent
          422 Technology Drive East                                           Unliquidated
          Menomonie, WI 54751                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,675.00
          Phoenix Proto Technologies                                          Contingent
          688 E Main STreet                                                   Unliquidated
          Centreville, MI 49032
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Precision Polish, LLC                                               Contingent
          144Adams Street                                                     Unliquidated
          Frankfort, NY 13340                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Premium Assignment Corp                                             Contingent
          3522 Thomasville Rd, Suite 400                                      Unliquidated
          Tallahassee, FL 32309                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          Protolabs                                                           Contingent
          5540 Pioneer Creek Drive                                            Unliquidated
          Maple Plain, MN 55359
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pure Castings Co                                                    Contingent
          PO Box 960                                                          Unliquidated
          Lockhart, TX 78644                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $945.00
          Q-Mark Manufacturing                                                Contingent
          30051 Comercio                                                      Unliquidated
          Rancho Santa Margarita, CA 92688
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,639.12
          Quincy Compressor                                                   Contingent
          71 North Dobson Avenue                                              Unliquidated
          Bay Minette, AL 36507
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided/supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          R.A.H. Design, Inc.                                                 Contingent
          13802 Quitman Pass                                                  Unliquidated
          Austin, TX 78728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,734.06
          Rainer Arms                                                         Contingent
          2504 Auburn Way N                                                   Unliquidated
          Auburn, WA 98002
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $311.66
          Ready Refresh-Nestle                                                Contingent
          900 Long Ridge Rd., Bldg. 2                                         Unliquidated
          Stamford, CT 06902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Regal Industrial Sales                                              Contingent
          687 Rowland Rd                                                      Unliquidated
          Victor, NY 14564                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Ritchter Precision                                                  Contingent
          PO Box 159                                                          Unliquidated
          East Petersburg, PA 17520
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Rosco Manufacturing                                                 Contingent
          500 High Street                                                     Unliquidated
          Central Falls, RI 02863
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RSR Group                                                           Contingent
          4405 Metric Drive                                                   Unliquidated
          Winter Park, FL 32792                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $78,278.48
          RWR Legal                                                           Contingent
          620 Congress Avenue, Suite 320                                      Unliquidated
          Austin, TX 78701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,641.38
          Sarah Haynie                                                        Contingent
          409 Hedy Drive                                                      Unliquidated
          Killeen, TX 76542
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,434.50
          Smith Sovik                                                         Contingent
          250 South Clinton Street, Suite 600                                 Unliquidated
          Syracuse, NY 13202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Snap-On Tools                                                       Contingent
          725 CR 112                                                          Unliquidated
          Burnet, TX 78611                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,062.90
          Sparktech                                                           Contingent
          1308 Chisholm Trail, Suite 105                                      Unliquidated
          Round Rock, TX 78681
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sports South                                                        Contingent
          101 Robert G Harris                                                 Unliquidated
          Shreveport, LA 71115                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Staples                                                             Contingent
          PO Box 105638                                                       Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stephen Gould Corp                                                  Contingent
          35 South Jefferson Rd                                               Unliquidated
          Whippany, NJ 07981                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $137,952.10
          TARMAC                                                              Contingent
          5128 Hidden Springs Trl                                             Unliquidated
          Georgetown, TX 78633
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    lease/reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Team Technologies                                                   Contingent
          1400 Eubank SE                                                      Unliquidated
          Albuquerque, NM 87123                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.26
          Terminex                                                            Contingent
          5200 S General Bruce Dr.                                            Unliquidated
          Temple, TX 76504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $405.52
          Terry Sterk                                                         Contingent
          22 Cheyenne Tr                                                      Unliquidated
          Belton, TX 76513
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,516.35
          Texas Building Services                                             Contingent
          2407 W Howard Lane, Suite B                                         Unliquidated
          Austin, TX 78728
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $186.03
          Texas Heat Treat                                                    Contingent
          PO Box 1117                                                         Unliquidated
          Round Rock, TX 78680
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Brute Squad                                                     Contingent
          171 W Pierpont Ave                                                  Unliquidated
          Salt Lake City, UT 84101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.00
          Tim Cisneros                                                        Contingent
          52752 Kiowa Loop, Unit 1                                            Unliquidated
          Fort Hood, TX 76544
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travis Getz                                                         Contingent
          112 Laurel Wreath Lane                                              Unliquidated
          Cary, NC 27519                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,479.08
          Trenton Forging                                                     Contingent
          5523 Hoover Rd                                                      Unliquidated
          Trenton, MI 48183
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,647.00
          Trijcon                                                             Contingent
          PO Box 930059                                                       Unliquidated
          Wixom, MI 48393
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          True Cut EDM                                                        Contingent
          2003 West State Street                                              Unliquidated
          Garland, TX 75042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,104.10
          Turnco Tool and Instrument                                          Contingent
          5080 East SH 29                                                     Unliquidated
          Georgetown, TX 78626
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TXU Energy                                                          Contingent
          PO Box 650638                                                       Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Uline                                                               Contingent
          PO Box 88741                                                        Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $219.90
          UPS                                                                 Contingent
          PO BOx 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $234.84
          UPS Freight                                                         Contingent
          PO Box 650690                                                       Unliquidated
          Dallas, TX 75265
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                         Case number (if known)            19-60161
              Name

 3.129     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Volusion                                                           Contingent
           1835 Kramer Ln, Suite 100                                          Unliquidated
           Austin, TX 78758                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           VZ Grips                                                           Contingent
           3616 Jackson Bluff Rd                                              Unliquidated
           Tallahassee, FL 32304                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $600.00
           Waco Metal Finishing                                               Contingent
           216 South 24th Street                                              Unliquidated
           Waco, TX 76701
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    services provided
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Williams Shooter's Supply                                          Contingent
           1813 Quintron Way                                                  Unliquidated
           Quincy, IL 62305                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $20,758.79
           Wynalda Packaging                                                  Contingent
           8221 Graphic Drive                                                 Unliquidated
           Belmont, MI 49306
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,438.29
           Zachariah Thull                                                    Contingent
           1661 County Rd 313, Apt. 1605                                      Unliquidated
           Jarrell, TX 76537
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    unpaid leave
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zanders Sporting Goods                                             Contingent
           801 Bradbury Ln                                                    Unliquidated
           Sparta, IL 62286                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 20 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                    Case number (if known)         19-60161
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    146,143.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  1,443,472.52

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                     1,589,615.52




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 21
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         19-60161
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  textiles contract
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                19 months
                                                                                     Aramark
              List the contract number of any                                        2680 Palumbo Drive
                    government contract                                              Lexington, KY 40509


 2.2.         State what the contract or                  internet
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                14 months
                                                                                     AT&T
              List the contract number of any                                        PO Box 13326
                    government contract                                              Austin, TX 78711


 2.3.         State what the contract or                  storage unit land
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                month to month
                                                                                     Best of the West
              List the contract number of any                                        19500 West State Highway 29
                    government contract                                              Liberty Hill, TX 78642-1000


 2.4.         State what the contract or                  water and waste
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                unknown
                                                                                     City of Temple
              List the contract number of any                                        2 N Main Street #201
                    government contract                                              Temple, TX 76501




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
 Debtor 1 Hudson Mfg. LLC                                                                    Case number (if known)   19-60161
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   haas machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                40 months
                                                                                     Intech
             List the contract number of any                                         2900 Challenger Place
                   government contract                                               Oxnard, CA 93030


 2.6.        State what the contract or                   haas machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                39 months
                                                                                     Intech
             List the contract number of any                                         2900 Challenger Place
                   government contract                                               Oxnard, CA 93030


 2.7.        State what the contract or                   haas machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                40 months
                                                                                     Intech
             List the contract number of any                                         2900 Challenger Place
                   government contract                                               Oxnard, CA 93030


 2.8.        State what the contract or                   rent
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                63 months
                                                                                     Jencer Investments
             List the contract number of any                                         3820 Fall Creek Ln
                   government contract                                               Temple, TX 76504


 2.9.        State what the contract or                   forklift
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                50 months
                                                                                     Marlin Leasing
             List the contract number of any                                         2795 E Cottonwood Pkwy, Suite 120
                   government contract                                               Salt Lake City, UT 84121


 2.10.       State what the contract or                   netsuite software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                5 months                   Netsuite
                                                                                     2955 Campus Drive Suite 100
             List the contract number of any                                         San Mateo, CA 94403
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
 Debtor 1 Hudson Mfg. LLC                                                                    Case number (if known)   19-60161
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12 months
                                                                                     Premium Assignment
             List the contract number of any                                         3522 Thomasville Rd, Suite 400
                   government contract                                               Tallahassee, FL 32309


 2.12.       State what the contract or                   electricity
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                19 months
                                                                                     TXU
             List the contract number of any                                         PO Box 650638
                   government contract                                               Dallas, TX 75265




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         19-60161
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Bill Hudson, Jr.                  4625 Corydon Ridge Rd NE                         Intech Funding                  D       2.2
                                               Corydon, IN 47112                                                                 E/F
                                                                                                                                G



    2.2      Bill Hudson, Jr.                  4625 Corydon Ridge Rd NE                         Intech Funding                  D       2.3
                                               Corydon, IN 47112                                                                 E/F
                                                                                                                                G



    2.3      Bill Hudson, Jr.                  4625 Corydon Ridge Rd NE                         Intech Funding                  D       2.4
                                               Corydon, IN 47112                                                                 E/F
                                                                                                                                G



    2.4      Bill Hudson, Jr.                  4625 Corydon Ridge Rd NE                         Jencer Investments              D
                                               Corydon, IN 47112                                                                 E/F        3.64
                                                                                                                                G



    2.5      Bill Hudson, Jr.                  4625 Corydon Ridge Rd NE                         Marlin Business                 D
                                               Corydon, IN 47112                                Bank                             E/F        3.75
                                                                                                                                G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Hudson Mfg. LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         19-60161
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                             $31,118.46
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                          $4,482,671.24
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                            $229,019.20
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       For prior year:                                                                         Interst, credit card,
       From 1/01/2018 to 12/31/2018                                                            reimbursement, and
                                                                                               unidentified deposits                              $39,581.06


       For year before that:
       From 1/01/2017 to 12/31/2017                                                            grant and interest                                 $70,000.14


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                           Case number (if known) 19-60161




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Jencer Investments                                          12/20/2018                      $110,861.05          Secured debt
               3820 Fall Creek Lane                                                                                             Unsecured loan repayments
               Temple, TX 76504                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.2.
               Kabbage                                                     12/26/2018;                      $31,407.69          Secured debt
               9258 Peachtreet Street NE                                   01/26/2019;                                          Unsecured loan repayments
               Atlanta, GA 30309                                           02/26/2019                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Cy and Lauren Hudson                                        2/12; 2/23;                      $84,000.00         wages
               PO Box 940                                                  3/15; 3/30;
               Georgetown, TX 78627                                        4/10; 4/25;
               Owners                                                      5/10; 6/12;
                                                                           6/26; 7/13;
                                                                           8/15; 8/30;
                                                                           9/14;
                                                                           10/3;10/12

       4.2.    Barbara Stafford                                            2/15; 2/28;                      $54,820.15         wages
               8575 Rives Juntion Rd                                       3/15; 3/30;
               Rives Junction, MI 49277                                    4/13; 4/30;
               Officer/EVP                                                 5/15; 5/31;
                                                                           6/15; 6/29;
                                                                           7/13; 7/31;
                                                                           8/15; 8/31;
                                                                           9/14

       4.3.    Nicholas Roberts                                            2/15; 2/28;                      $62,153.51         wages
               2205 Pirtle Drive                                           3/15; 3/30;
               Salado, TX 76571                                            4/13; 4/30;
               Officer/CEO                                                 5/15; 5/31;
                                                                           6/15; 6/29;
                                                                           7/13; 7/31;
                                                                           8/15; 8/31;
                                                                           9/14; 10/3;
                                                                           10/17; 11/20


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
 Debtor       Hudson Mfg. LLC                                                                           Case number (if known) 19-60161



5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property

       Regal                                                    locks returned for credit                                      09/04/2018                   $2,750.00
       687 Rowley Rd
       Victor, NY 14564

       TARMAC                                                   machines repossessed                                           01/16/2019                   Unknown
       5128 Hidden Springs Trl
       Georgetown, TX 78633


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Cambridge Valley Machining,                      Contract/UCC               USDC ND New York                              Pending
               Inc. v. Billie Hudson III and                                               1005 Clinton Street                         On appeal
               Lauren Hudson                                                               Syracuse, NY 13261
                                                                                                                                       Concluded
               1:18-cv-1022

       7.2.    In re: ASPC Corp.                                claim in chapter           OH Eastern District                           Pending
               18-52736                                         11                                                                     On appeal
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
 Debtor        Hudson Mfg. LLC                                                                             Case number (if known) 19-60161



               Recipient's name and address                     Description of the gifts or contributions                Dates given                      Value

       9.1.    Permission to Start Dreaming                     charity
               3110 Judson Street
               PMB 144
               Gig Harbor, WA 98335                                                                                      10/6/2017                $15,000.00

               Recipients relationship to debtor



       9.2.    American Suppressor
               Association
               6085 Lake Forest Drive
               Suite 200
               Atlanta, GA 30328                                                                                         7/5/2018                   $1,147.00

               Recipients relationship to debtor
               organization of membership


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       non-conforming parts, damage                             zero                                                     2017-2018                $84,431.98
       product, lost material.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.1.    Jackson Walker LLP
                100 Congress Avenue, Suite
                1100
                Austin, TX 78701                                                                                               01/18/2019           $7,000.00

                Email or website address


                Who made the payment, if not debtor?
                Bill Hudson



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Debtor        Hudson Mfg. LLC                                                                           Case number (if known) 19-60161




       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     302 Deepwood Drive                                                                                        01/2014-06/2016
                 Georgetown, TX 78628

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Driver's license and credit card information
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor        Hudson Mfg. LLC                                                                          Case number (if known) 19-60161




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Chase Bank                                      XXXX-8008                  Checking                  05/10/2018                           $0.00
                270 Park Avenue                                                            Savings
                Georgetown, TX 78628
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Connex                                                        Cy and Lauren Hudson,                demo and training items               No
       19500 West State Hwy 29                                       PO BOx 940,                                                                Yes
       Liberty Hill, TX 78642                                        Georgetown, TX 78627



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Jack Derby                                                    in company possession                warranty item                                    $0.00


       Owner's name and address                                      Location of the property             Describe the property                            Value
       Austin Albert                                                 in company possession                warranty item                                    $0.00


       Owner's name and address                                      Location of the property             Describe the property                            Value
       Charles James                                                 in company possession                warranty item                                    $0.00



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                      Value
       Chris Martin                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       David Singleton                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       John Pemberton                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       David Singleton                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Stoddard's Range & Guns -- Jerry Hart                         in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Basil Pappas                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Robert Miller                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Joseph Gilchrist                                              in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Calvin Poling                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Russell Mitchell                                              in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Alex Van Sickle                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Brandon Masterson                                             in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Talos Tactical-Matthew Cieslar                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Kaie Pena                                                     in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Steven Lemieux                                                in company possession                warranty item                              $0.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                      Value
       GA Firing Line -- Jerry Wilhelm                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Andrew Snodgrass                                              in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       James Stacey                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Carlos Guerrero                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Manny Mena                                                    in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Jason Schneider                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Brandon Hein                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       IRunGuns                                                      in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ryan Schreiber                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       The Alamo by Lotus Gunworks                                   in company possession                warranty item                              $0.00
       Nick Charbonneau

       Owner's name and address                                      Location of the property             Describe the property                      Value
       Hyatt Coin & Gun Shop -Stephen Miller                         in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Shoot Straight                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ryan DuRussel                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Tom Brown                                                     in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Christopher Anderson                                          in company possession                warranty item                              $0.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                      Value
       Steve Schoppe                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Noel Zarza                                                    in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Raymond Whitney                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Phil Holman                                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       IRunGuns                                                      in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Trigger Time Gun Run                                          in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Justin Avra                                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Cody Plaster                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Great Guns                                                    in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       James Johnson                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Vandoeun Long                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Skillet Creek-Louie Pereira                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Joseph Swick                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Brad Hendrick                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Applied Ballistics-Dan Quesenbery                             in company possession                warranty item                              $0.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                      Value
       Christopher Anderson                                          in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Daylan Andrews                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       The Alam by Lotus Gunworks                                    in company possession                warranty item                              $0.00
       Nick Charbonneau

       Owner's name and address                                      Location of the property             Describe the property                      Value
       Sports South                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Mark Oswald                                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       The Machine Gun Nest-Ryan Burkett                             in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Steven Floyd                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Greg Medinilla                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Patrick Holland                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Michael Faran                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Joseph Woodley                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Bartholomew Hott                                              in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Paxton Berry                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Stoddard's Range & Guns-Jerry Hart                            in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Chris Deel                                                    in company possession                warranty item                              $0.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                      Value
       Pensacola Indoor Shooting Range                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Marcus Shepherd                                               in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ricardo Azotea                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Freedom Firearms                                              in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Shady Oaks Gun Range-Vincent                                  in company possession                warranty item                              $0.00
       McElhaney

       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ernest Garza                                                  in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ranier Arms-Erik Wartena                                      in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Ryan Powell                                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       William Morgan                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       David DeBruyn                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Thomas Sjoberg                                                in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Jordan Howser                                                 in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Calvin Cook                                                   in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Christopher Pollard                                           in company possession                warranty item                              $0.00


       Owner's name and address                                      Location of the property             Describe the property                      Value
       Sports South                                                  in company possession                warranty item                              $0.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Sports South                                                  in company possession                warranty item                                              $0.00



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Janet Grisset                                                                                                              04/18-02/19
                    1810 Marlandwood Rd
                    Apt. 8204
                    Temple, TX 76502
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 12
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.2.       Scale Factor                                                                                                          9/15-5/18
                    1408 E 13th Street
                    Austin, TX 78702

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Janet Grisset                                                                                                         04/18-02/19
                    1810 Mandalwood Rd
                    Apt 76502
                    Temple, TX 76502
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       Scale Factor                                                                                                          9/15-5/18
                    1048 E 13th Sreet
                    Austin, TX 78702

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Lauren Hudson
                    PO Box 29
                    Georgetown, TX 78627

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Alondra Capital
                    445 Hamilton Ave, Suite 1102
                    White Plains, NY 10601
       26d.2.       Bank Plus
                    1068 Highland Colony Pkwy, Suite 200
                    Ridgeland, MS 39157
       26d.3.       Barrett Firearms Manufacturing
                    PO Box 1077
                    Waukesha, WI 53186
       26d.4.       Bellwether Funding
                    251 W Broadway, Suite 206
                    Waukesha, WI 53186
       26d.5.       Big Shoulders Capital
                    105 Revere Drive, Suite D
                    Northbrook, IL 60062
       26d.6.       Briar Capital
                    1500 City West Blvd. Suite 560
                    Houston, TX 77042

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Name and address
       26d.7.       Byline Bank
                    180 North LaSalle Street
                    Chicago, IL 60601
       26d.8.       Capital Business Solutions


       26d.9.       Capital Credit
                    7301 RR 620 North, Suite 155
                    Austin, TX 78726
       26d.10.      Capital Family Holding
                    901 S. MoPac Expressway,
                    Bldg. II, Ste 320
                    Austin, TX 78746
       26d.11.      Capstone Headwaters
                    200 S Wacker Drive, Suite 3100
                    Chicago, IL 60606
       26d.12.      CBC National Bank
                    4705 West US Hwy 90
                    Lake City, FL 32055
       26d.13.      CEA Atlantic Advisors, LLC
                    101 East Kennedy Blvd., Suite 3300
                    Tampa, FL 33602
       26d.14.      Columbia Consulting Group
                    6101 Long Prarie Rd, Suite 744 LB17
                    Flower Mound, TX 75028
       26d.15.      CrowdOut Capital
                    1010 Land Creek Cove, Suite 105
                    Austin, TX 78746
       26d.16.      Daniel Defense
                    101 Warfighter Way
                    Ellabell, GA 31308
       26d.17.      Empowerment Company
                    18409 Angel Valley Drive
                    Leander, TX 78641
       26d.18.      ExWorks Capital
                    333 W Wacker Drive, 16th Floor
                    Chicago, IL 60606
       26d.19.      Far West Capital
                    3420 Executive Center Drive, Suite 210
                    Austin, TX 78731
       26d.20.      First Business Bank
                    401 Charmany Drive
                    Madison, WI 53719
       26d.21.      Focus Strategies
                    901 S MoPac Expressway
                    Bldg. II, Suite 350
                    Austin, TX 78746




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Name and address
       26d.22.      Frost Bank
                    La Frontera Financial Center
                    PO Box 1600
                    San Antonio, TX 78296
       26d.23.      Gladstone Capital
                    1521 Westbranch Drive, Suite 100
                    Mc Lean, VA 22102
       26d.24.      Growth Strategy Partners
                    100 Arrow Head Rd. Suite 201
                    Marshfield, MA 02050
       26d.25.      Helios Advisors
                    222 Broadway, 19th Floor
                    New York, NY 10038
       26d.26.      Horizon Bank
                    600 Congress Avenue, Suite G-260
                    Austin, TX 78701
       26d.27.      Jacob Herman
                    1819 Ward Drive, Suite 101
                    Murfreesboro, TN 37133
       26d.28.      Jerry Spencer
                    212 7th Avenue
                    Helena, MT 59601
       26d.29.      Kabbage
                    925B Peachtree Street NE, Suite 1688
                    Atlanta, GA 30309
       26d.30.      KRISS USA
                    912 Corporate Lane
                    Chesapeake, VA 23320
       26d.31.      Legacy Capital
                    433 Metairie Rd, Suite 405
                    Metairie, LA 70005
       26d.32.      Leland Nichols
                    26 Joshua Drive
                    West Simsbury, CT 06092
       26d.33.      Lendio
                    10235 S Jordan Gateway, Suite 140
                    South Jordan, UT 84095
       26d.34.      Lirola Capital
                    8 The Green, Suite A
                    Dover, DE 19901
       26d.35.      Magpul
                    8226 Bee Cave Rd.
                    Austin, TX 78746
       26d.36.      Marquette Business Credit
                    5910 N Central Expressway, Suite 1900
                    Dallas, TX 75206
       26d.37.      MDN Capital
                    PO Box 630634
                    Irving, TX 75063

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 15
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Name and address
       26d.38.      Merchant Banking Resources
                    2831 St. Rose Parkway, Suite 444
                    Henderson, NV 89052
       26d.39.      Orchid Advisors
                    222 Pitkin Street
                    East Hartford, CT 06108
       26d.40.      Pontchartrain Capital
                    729 Camp Street
                    New Orleans, LA 70130
       26d.41.      Regions Bank
                    3773 Richmond Ave, Suite 1000
                    Houston, TX 77046
       26d.42.      RST Agency
                    1200 Ridgefield Blvd., Suite 275
                    Asheville, NC 28806
       26d.43.      South Highland Ventures
                    333 Texas Street, Suite 2280
                    Shreveport, LA 71104
       26d.44.      Southern Capital
                    2011 North Commerce Drive
                    Peachtree City, GA 30269
       26d.45.      Texas Capital Bank
                    PO Box 224318
                    Dallas, TX 75222
       26d.46.      United Sporting Company
                    267 Columbia Avenue
                    Chapin, SC 29036
       26d.47.      University Federal Credit Union


       26d.48.      US Equity Funding
                    One International Place
                    Suite 1400
                    Boston, MA 02110
       26d.49.      Vertex Funding
                    PO Box 801685
                    Dallas, TX 75380
       26d.50.      Vista Outdoor Operation
                    262 N University Ave
                    Farmington, UT 84025
       26d.51.      Zev Technologies
                    1051 Yarnell Place
                    Oxnard, CA 93033

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Janet Grissett
       .                                                                                    10/24/2018               1,140,045.95

               Name and address of the person who has possession of
               inventory records
               Hudson Mfg.
               10986 HK Dodgen Loop
               Temple, TX 76504


       27.2 Barbara Stockford -- partial inventory
       .                                                                                    06/30/2018               1,643,911.84

               Name and address of the person who has possession of
               inventory records
               Hudson Mfg.
               10986 HK Dodgen Loop
               Temple, TX 76504


       27.3 Barbara Stockton
       .                                                                                    04/21/2018               $1,595,900.69

               Name and address of the person who has possession of
               inventory records
               Hudson Mfg.
               10986 HK Dodgen Loop
               Temple, TX 76504


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Cy Hudson                                      PO Box 29                                           owner                                 50
                                                      Georgetown, TX 78627

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lauren Hudson                                  PO Box 29                                           owner                                 50
                                                      Georgetown, TX 78627



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Bill Hudson, Jr.                               4625 Conrdon Ridge Rd                               owner                             10/15-5/18
                                                      Corydon, IN 47112




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 17
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Barbara Stockton                               8575 Rives Juncton Rd                               officer                          8/16-11/18
                                                      Rives Junction, MI 49277

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Nicholas Roberts                               2205 Pirtle Drive                                   officer                          8/16-11/18
                                                      Salado, TX 76571


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Cy and Lauren Hudson
       .    PO Box 29
               Georgetown, TX 78627                             84,000                                                                     wages

               Relationship to debtor
               owners


       30.2 Barbara Stockton
       .    8575 Rives Junction Rd
               Rives Junction, MI 49277                         54,820.15                                                                  wages

               Relationship to debtor
               officer


       30.3 Nicholas Roberts
       .    2205 Pirtle Drive                                                                                                              reimbursement
               Salado, TX 76571                                 62,153.51                                                                  and wages

               Relationship to debtor
               officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Hudson Std.                                                                                                EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 18
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
 Debtor      Hudson Mfg. LLC                                                                            Case number (if known) 19-60161



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on           03/28/2019

  /s/ Billie C. Hudson, III                                             Billie C. Hudson, III
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor          Manager/Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 19
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
